                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MARYLAND
                           SOUTHERN DIVISION

UNITED STATES OF AMERICA                     *

v.                                           *        Crim. No.: PJM-22-0209


NICHOLAS ROSKE                               *

             *      *      *      *      *       *    *      *      *      *

                                 STATUS REPORT

      Undersigned counsel writes to provide the Court with an update on the status

of Nicholas Roske’s case and to respectfully request that the parties be permitted to

provide another status update in 60 days.

      Counsel continues to investigate defenses to the government’s allegations and

requires additional time to determine whether a resolution may be reached short of

trial. Mr. Roske believes that the parties will soon be in a position to determine whether

the Court should issue a full scheduling order for his matter.

      Counsel for Mr. Roske has conferred with counsel for the government, Assistant

United States Attorney Kathleen Gavin, regarding scheduling in this matter. Ms.

Gavin consents to Mr. Roske’s request for an additional 60 days to investigate this

matter.

      Therefore, without objection from the government, the defense respectfully

requests that they be permitted to provide a further update the Court on or before

August 7, 2023.

      The defense consents to tolling the speedy trial clock and excluding this period


                                             1
 of delay pursuant to 18 U.S.C. § 3161(h)(7)(A) as the ends of justice are served by

 permitting the parties a brief delay in light of the defense’s need to thoroughly

 investigate the case

      WHEREFORE, Mr. Roske, without objection from the government, requests that

the parties be permitted to file a further status update on or after August 7, 2023.


                                        Respectfully submitted,

                                        JAMES WYDA
                                        Federal Public Defender
                                          for the District of Maryland

                                        /s/

                                        Andrew R. Szekely
                                        Meghan G. Michael
                                        Assistant Federal Public Defender
                                        100 S. Charles Street, Tower II
                                        Suite 900
                                        Baltimore, MD 21201
                                        Tel: (410) 962-3962
                                        Fax: (410) 962-3976
                                        Email: andrew_szekely@fd.org
                                                  meghan_michael@fd.org




                                              2
3
4
